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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                      MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                      SECTION: J
                                               ]
                                               ]                      Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                      Mag. Judge Wilkinson
                                               ]

                       SWORN DECLARATION OF DARREN BENSON

         Pursuant to 28 U. S. C. § 1746 Darren Benson declares the following:

         1.      “My name is Darren Benson. The facts contained in this declaration are within

my personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from April 25,

2010 to August 14, 2011. O’Brien’s initially assigned me to work as a staging or logistics

manager in Houma, Louisiana. I was later transferred to Biloxi and then Gulfport, Mississippi.

My last posting with O’Brien’s was in Pensacola, Florida. My initial duties were to assist

O’Brien’s in supervising deployment and staging sites used in the cleanup response to BP’s

Deepwater Horizon oil spill in April 2010.

         3.      Supplies and equipment needed to clean the spill were kept at the staging yard

where I worked. It was my job to inventory all items, track where they were deployed, track

when they returned to the decontamination facility, and track when they were returned to staging

for redeployment or demobilization.

         4.      My responsibilities also included working with vendors to initially set up their

contracts, manage their supplies, monitor their inventory levels and other logistical duties.

         5.      My last position with O’Brien’s was Assistant Division Supervisor in Pensacola,

Florida. My duties included setting contractor schedules on a daily basis, supervising beach




                                                                                                Ex. 6
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cleanup crews, and tracking and reporting crew locations, equipment and supplies being used in

the cleanup effort. It was my job to fill out daily reports. I also attended daily meetings to

explain what we picked up or deployed each day, the equipment and personnel currently being

used and what would be needed in the future.

       6.       O’Brien’s treated me as an independent contractor throughout my entire

employment with O’Brien’s.

       7.       Many other workers worked for O’Brien’s performing the same duties I

performed and were also treated as independent contractors. I refer to these other workers as

“Spill Workers.”

       8.       Throughout my employment with O’Brien’s, O’Brien’s established my and the

other Spill Workers’ compensation, set our schedules, and directed our work on a daily basis.

                                             Hours Worked

       9.       During my employment, the other Spill Workers and I typically worked seven

days per week. I went months without a day off.

       10.      The other Spill Workers and I were regularly scheduled to work twelve hour

shifts for O’Brien’s. However, our actual shifts were often longer than the regularly scheduled

twelve hours.

       11.      Accordingly, the other Spill Workers and I routinely worked many hours in

excess of forty in a week. Exhibit 1 is an example of one of my time sheets from August 1, 2010

to August 8, 2010. I worked twelve or more hours each of these days. See Exhibit 1.

                                                Pay

       12.      Prior to the Deepwater Horizon oil spill I had previously worked for O’Brien’s

under a contract known as a “Teaming Agreement.” When O’Brien’s rehired me, they used the
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same Teaming Agreement that was on file. The Teaming Agreement stated that we would be

paid by the day. My agreement with O’Brien’s states I would be paid “$500 per day.” A true

and correct copy of the agreement I signed with O’Brien’s is attached as Exhibit 2.

       13.     During my employment with O’Brien’s in connection with the Deepwater

Horizon oil spill response, my daily rate began at $500.00 per day and was later increased to

$550.00 per day. These amounts did not increase if I worked more than my scheduled hours.

       14.     O’Brien’s did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                            Control

       15.     O’Brien’s had the authority to hire and fire me and other Spill Workers. I know

this because I had worked for O’Brien’s prior to the Deepwater Horizon oil spill and an

O’Brien’s employee, rehired me over the phone and instructed me to report to work in Houma.

       16.     When I was first hired, Paul Richey was my initial dispatcher who was also

employed by O’Brien’s and he gave me my first direction on how to do my job. Later my

supervisors included O’Brien’s employees, Steve Brown, Peter Benson, Jerry Smith, Duane

Miller and Donald Murphy.

       17.     O’Brien’s supervised and controlled the performance of our work in all the

locations to which I was assigned. For example, I had mandatory daily meetings with command

staff comprised of O’Brien’s personnel, BP personnel and various local, state and federal

officials including the Coast Guard. In these meetings, myself and other Spill Workers were

given instructions regarding our daily tasks and job performance. When there were problems in
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staging, deployment or demobilization, I went to O’Brien’s employees, Steve Brown, Peter

Benson, Jerry Smith, Duane Miller or Donald Murphy, for help.

        18.     O’Brien’s required me to generate written reports to include daily schedules, the

quantity of personnel, supplies and equipment on hand and being used, where it is being

deployed, the material being picked up and the progress of the cleanup. O’Brien’s used these

reports to monitor our work.

        19.     O’Brien’s directed the information I was to track and how I was to report it.

O’Brien’s also provided instruction on how to fill out the report forms I completed. For

example, while deployed in Pensacola if my forms were not filled out properly or there was

some other problem with my work, Peter Benson required me to make corrections according to

his instructions.

        20.     O’Brien’s required me and the other Spill Workers to scan our electronic badges

in and out upon each entry and departure from work sites and boats. These badges said

“O’Brien’s” on them. We were required to wear them around our necks so they would always be

visible to the guards at the facilities.

        21.     O’Brien’s required me and the other Spill Workers to obtain approval for time off.

I requested a total of about two days off during the first four months of my employment with

O’Brien’s on the Deepwater Horizon oil spill response. I made the request to an O’Brien’s

supervisor, who approved them.

        22.     O’Brien’s required me and other Spill Workers to fill out time sheets reflecting

hours worked.

        23.     O’Brien’s required me and the other Spill Workers follow policies and procedures

that dictated who we reported to in the chain of command, how we recorded and reported our
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time worked, how we behaved on job sites, what we were permitted to wear, how we performed

our work, what expenses we were allowed to claim for reimbursement, how we handled

documents, and that we submit to random drug and alcohol testing.

        24.     O’Brien’s set my and other Spill Workers’ working schedules on a weekly basis,

which typically required minimum shifts of 12 hours or longer. We were not allowed to set our

own schedules.

        25.     The Spill Workers and I were not allowed to hire employees to help us with our

work.

        26.     O’Brien’s prohibited me and the other Spill Workers from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment. See Exhibit 2.

        27.     At all times while I was employed by O’Brien’s, I was classified as an

independent contractor.

        28.     Just before I was let go, or “demobilized,” an O’Brien’s employee told me that I

was to report to demobilization. In demobilization, my O’Brien’s electronic access badge was

deactivated. After being demobilized, I returned home because I no longer had work or lodging

in Pensacola.

                                           Investment

        29.     The other Spill Workers and I made little or no investment in working for

O’Brien’s. For example, O’Brien’s provided us with the equipment we used, including printers,

scanners, hard hats, safety vests, safety glasses, shirts and hats. O’Brien’s typically reimbursed

us for travel expenses and mileage. O’Brien’s also provided facilities, including offices and

lodging.
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                                                               BP
                                                           RESPONSE
                                                           TIME SHEET
Name: Darren Benson                         Billing Period: 8/01/10-8/08/10

Paykey Code: ZKRAUMD252                     Response: Deepwater Horizon

 Date      Start       End    Total                Location/Activity
           Time        Time   Hours
 8/01      0545        1800   12.15   Deputy Director of Operations Pensacola, Fl
 8/02      0545        1800   12.15   Deputy Director of Operations Pensacola, Fl
 8/03      0545        1800   12.15   Deputy Director of Operations Pensacola, Fl
 8/04      1145        2345   12      Deputy Director of Operations Pensacola, Fl
 8/05      0800        1900   12.15   Deputy Director of Operations Pensacola, Fl
 8/06      0600        1800   12.15   Deputy Director of Operations Pensacola, Fl
 8/07      0545        1800   12.5    Deputy Director of Operations Pensacola, Fl
 8/08      0545        1800   12.5    Deputy Director of Operations Pensacola, Fl




Signature: Darren Benson                                  Date: 8/08/10

                                                                              Exhibit 1
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                                                               Exhibit 2
